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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :
                                              :      No. 17-10941-SR
SHARMIL MCKEE,                                :
                                              :      Chapter 7
                       Debtor                 :


  NOTICE OF SETTLEMENT BETWEEN PHILADELPHIA FAMILY COURT AND
                    DEBTOR SHARMIL MCKEE


         The Philadelphia Family Court and Debtor Sharmil McKee, through undersigned

counsel, have reached a settlement regarding Debtor’s Motion for Sanctions. A proposed order

of dismissal as to Philadelphia Family Court is enclosed below.


                                              Respectfully submitted,



         /s/ Andrew J. Coval                                 /s/ Glenn A. Brown
         Andrew J. Coval, Esquire                           Glenn A. Brown, DMD, Esquire
         Attorney I.D. No. PA 321487                        Real World Law, P.C.
         Supreme Court of Pennsylvania                      6778 Market Street
         Administrative Office of PA Courts                 Upper Darby, PA 19082
         1515 Market Street, Suite 1414                     (610) 734-0750
         Philadelphia, PA 19102
         (215) 560-6300                                     Attorney for Debtor
         legaldepartment@pacourts.us

         Attorney for Philadelphia Family Court
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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
                                             :      No. 17-10941-SR
                                                                  xxx JKF
SHARMIL MCKEE,                               :
                                             :      Chapter 7
                     Debtor                  :



                                         ORDER

                         31st                    October
         AND NOW this               day of                        2017, in consideration of the

Settlement between Philadelphia Family Court and Debtor Sharmil McKee, it is ORDERED

that Debtor’s Motion for Sanctions is DISMISSED with respect to Philadelphia Family Court

only.




                                             BY THE COURT:



                                             _____________________________
                                             Judge Jean K. FitzSimon
                                                                     J.xx
Case 17-10941-jkf       Doc 64     Filed 10/31/17 Entered 10/31/17 15:20:12          Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
                                             :       No. 17-10941-SR
SHARMIL MCKEE,                               :
                                             :       Chapter 7
                       Debtor                :


                                 CERTIFICATE OF SERVICE


         The undersigned counsel hereby certifies that on October 17, 2017, he caused to be

served a true and correct copy of the foregoing Response in Opposition to the Motion for

Sanctions via CM/ECF and via first class, postage pre-paid, U.S. mail to the following:



                       Michael Pearson
                       500 Admirals Way #101
                       Philadelphia, PA 19146




                                                     /s/ Andrew Coval
                                                     ANDREW COVAL, ESQUIRE
                                                     Attorney I.D. No. PA 321487
                                                     Supreme Court of Pennsylvania
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                                                     1515 Market Street, Suite 1414
                                                     Philadelphia, PA 19102
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                                                     Attorney for Philadelphia Family Court
